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8

9                         IN THE UNITED STATES DISTRICT COURT

10                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

11                                  WILLIAMSPORT DIVISION

12   KAYLA WILLIAMS,                           Case No. 4:20-cv-00298-MWB

13              Plaintiff,

14                            vs.              FIRST AMENDED COMPLAINT IN CIVIL
                                               ACTION
15   PENNSYLVANIA STATE UNIVERSITY; and,
     BRENDAN PRAWDZIK in his individual        JURY TRIAL DEMANDED
16   capacity; and, LAUREN LANGFORD in her
     individual capacity; and, KAREN
17   FELDBAUM in her individual capacity;
     and, YVONNE GAUDELIUS in her
18   individual capacity,

19              Defendants.

20
                                    FIRST AMENDED COMPLAINT
21
          NOW COMES the Plaintiff, Kayla Williams, by and through her attorneys,
22
     The Trial Law Firm, LLC, Mart Harris, Esquire, and Nelson Berardinelli,
23
     Esquire, and pursuant to Fed.R.Civ.P. 15(a)(1)(B), (by way of Fed.R.Civ.P.
24
     7(b)(1)(B) and 83(a)(1)), files the within First Amended Complaint in Civil
25
     Action against the Defendants as follows:
26
     Parties
27
          1.    The Plaintiff is Kayla Williams (“Ms. Williams”). Ms. Williams
28
     is an adult female individual who resides in Allegheny County Pennsylvania.


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1         2.    The First Defendant is Pennsylvania State University (“Penn

2    State”). Penn State is a public university affiliated with the Commonwealth

3    of Pennsylvania.

4         3.    The Second Defendant is Brendan Prawdzik (“Mr. Prawdzik”). Mr.

5    Prawdzik is an adult individual who maintains an office in Centre County

6    Pennsylvania, as a Professor of English at Penn State.

7         4.    The Third Defendant is Lauren Langford (“Ms. Langford”). Ms.

8    Langford is an adult individual who maintains an office in Centre County

9    Pennsylvania, as an Assistant Director of Penn State in the Office of

10   Student Conduct.

11        5.    The Fourth Defendant is Karen Feldbaum (“Ms. Feldbaum”). Ms.

12   Feldbaum is an adult individual who maintains an office in Centre County

13   Pennsylvania and is employed by Penn State as Senior Director of Office of

14   Student Conduct.

15        6.    The Fifth Defendant is Yvonne Gaudelius (“Ms. Gaudelius”). Ms.

16   Gaudelius is an adult individual who maintains an office in Centre County

17   Pennsylvania and is employed by Penn State as Associate Vice President and

18   Senior Associate Dean for Undergraduate Education.

19   Personal Jurisdiction and Venue

20        7.    Personal jurisdiction over Ms. Williams exists, as she avails

21   herself of the jurisdiction of this Court.

22        8.    Personal jurisdiction over the Defendants exists because they

23   have a regular place of business in the Middle District of Pennsylvania.

24        9.    The events and omissions which give rise to the claims asserted

25   herein occurred in the Middle District of Pennsylvania in or around

26   University Park, Pennsylvania. Therefore, pursuant to 28 U.S.C. § 1391(b),

27   the District Court situated in Williamsport Pennsylvania is the proper venue

28   for this case.



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1    Subject Matter Jurisdiction

2         10.    This Civil Action is brought pursuant to multiple federal

3    statutes, including but not limited to 42 U.S.C. § 1983. Therefore, the

4    United States District Courts have Subject Matter Jurisdiction over this

5    dispute.   The Court also has supplemental jurisdiction over Ms. Williams’

6    state law claims pursuant to 42 U.S.C. § 1367.

7         11.    Penn State is a land grant University affiliated with the

8    Commonwealth of Pennsylvania, and is therefore considered a governmental

9    entity subject to 42 U.S.C. § 1983.

10        12.    Mr. Prawdzik is a person as identified by the anti-Retaliation

11   provisions of Title VI.

12        13.    Ms. Williams began her freshman year at Penn State in the Fall

13   2016 semester. She expected and anticipated to graduate from Penn State with

14   a Bachelor’s Degree after approximately four (4) years.

15   Facts- Ms. Williams is “Train” Raped

16        14.    After her first semester at Penn State, the only time she spent

17   at the University that was not marred by rape and racism, on or about

18   January 15, 2017, Ms. Williams was raped by two male Penn State students.

19        15.    When Ms. Williams awoke, naked and confused, she began to get

20   dressed while trying to piece together the incidents of the previous

21   evening. The only thing she could remember was faces walking around a dark

22   room, someone on top of her, and her saying to that someone “[w]hat are you

23   doing? Get off me.” In response to her demand, she was told, “[r]elax,

24   you’ll be OK.”

25        16.    One of her rapists then entered the room, and Ms. Williams asked

26   him “[w]hat happened? Who was in here?” The rapist replied, “I don’t know, I

27   was downstairs in the kitchen.” Ms. Williams retorted, “[y]ou have to know.

28



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1    Who was in here?” The rapist falsely insisted he did not know who entered

2    the room with her the previous night.

3         17.   Ms. Williams ran downstairs, and screamed “[w]ho was in that

4    room?” The only person left in the house was asleep on the couch, and he

5    jumped out of his sleep. Upon information and belief, the person sleeping on

6    the couch was not involved in the rapes but was involved in a group text

7    message session with the two rapists, which included coded references to

8    train raping Ms. Williams, including but not limited to “the conductor is

9    back” and “code is a toilet flush.” Upon information and belief, when Ms.

10   Williams began screaming, one of the rapists fled the house. This rapist

11   later withdrew from Penn State while under investigation for his rape of Ms.

12   Williams, prior to facing a Title IX Decision Panel, thereby, avoiding

13   University adjudication.

14        18.   Upon information and belief, Penn State knew or should have

15   known that the individual who was asleep on the couch stated that one of the

16   rapists came downstairs alone after being in the room with Ms. Williams, and

17   stated that they “put [Ms. Williams] upstairs to sleep it off.” Then, one of

18   the rapists “got a fresh bottle of liquor” and returned to the room where

19   Ms. Williams was sent to “sleep it off.”

20        19.   Ms. Williams stated her intention to call the police.

21        20.   One of the rapists (the one who was subjected to a Title IX

22   Hearing Panel, eventually, as discussed in detail infra) pleaded with Ms.

23   Williams to not call the police and offered to drive her back to her dorm.

24        21.   Ms. Williams, disinclined to acquiesce to his request, did in

25   fact call the police.

26        22.   The police arrived, and spoke with Ms. Williams. The police then

27   spoke to the rapist.

28



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1         23.   After speaking to the rapist, the police informed Ms. Williams

2    that the rapist stated “everything was consensual.” This statement by the

3    police was Ms. Williams’ first confirmation of both: 1) the fact that she

4    was indeed raped; and, 2) more than one person raped her. Shocked, Ms.

5    Williams exclaimed, “I didn’t even know that [rapist] was involved. And

6    there was no consent to anything!”

7         24.   The police officer determined that Ms. Williams was currently

8    under the influence of alcohol, and that she needed to go to the hospital.

9    An ambulance arrived and transported Ms. Williams to the hospital.

10        25.   While waiting in the hospital waiting room, alone, Ms. Williams

11   became emotional. A nurse eventually performed a rape kit, which was

12   physically and emotionally painful for Ms. Williams. It was also determined

13   that Ms. Williams’ blood alcohol content was 0.192 at approximately 9:00

14   a.m. Eventually, Ms. Williams went home.

15        26.   Upon information and belief, including but not specifically

16   limited to the fact that Penn State receives notifications from local police

17   departments when one or more of its students are involved with suspected

18   criminal behavior, one or more Penn State Title IX mandatory reporters

19   became aware that two of its students were under investigation for rape of

20   one of its other students (Ms. Williams) in or around January 2017.

21        27.   Upon information and belief, including but not specifically

22   limited to the fact that Ms. Williams was not contacted by the Title IX

23   office before she personally approached them, despite learning that that two

24   of its students were under investigation for rape of one of its other

25   students (Ms. Williams) in or around January 2017, Penn State violated Title

26   IX and its own policies and procedures because the mandatory reporter(s) who

27   learned of Ms. Williams’ rape and the subsequent police investigation in or

28



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1    around January 2017 did not alert Penn State’s Title IX Coordinator of same,

2    or otherwise make contact with Ms. Williams.

3         28.   Over the next few weeks, Ms. Williams had multiple meetings with

4    the police and with the district attorney. In the first meeting, Ms.

5    Williams was informed by the police that they had confirmed that two men

6    were involved in the rape, and that “they were stupid and snitched on each

7    other.”

8         29.   Upon information and belief, including but not limited to the

9    fact that Penn State receives notifications from local police departments

10   when one or more of its students are involved with suspected criminal

11   behavior, Penn State was aware of these findings that “they were stupid and

12   snitched on each other” prior to the Title IX Hearing at issue in this case.

13        30.   Approximately one week later, Ms. Williams was in class, and

14   another student did a presentation on being raped at Penn State as a

15   freshman. That night, though she was not mentally able to do a presentation

16   on her own rape, Ms. Williams determined to do a presentation on the rape

17   culture at Penn State for her own project; she hoped to leverage her rape

18   culture presentation to help her recover emotionally from her experience.

19   The theme of her project was “you just have to keep going.” While unable to

20   heal herself, it was cathartic to hopefully be able to help other people.

21        31.   Ms. Williams continued to suffer mentally from being raped.

22   Later in the semester, upon information and belief, for about a week, she

23   depersonalized from herself. This was a terrifying experience that she could

24   not understand. Ms. Williams lost all sense of who she was and spent hours

25   in front of the mirror trying to “get [her]self back.”

26   Facts- Penn State is (Finally) Forced to Start its Title IX Investigation

27        32.   In the Fall 2017 semester, Ms. Williams learned that Penn State

28   had not begun an investigation into her rape, so she personally reached out



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1    to the Title IX office on or about October 11, 2017, and her case was

2    assigned to Christopher Harris (“Mr. Harris”).

3         33.   To this day, when Ms. Williams sees a person who looks like one

4    of her rapists, she still freezes in place, her body still gets extremely

5    hot, and she still panics and seeks shelter. Seeing that rapist and/or

6    people who look like that rapist caused her to miss many classes due to

7    anxiety. Sometimes, Ms. Williams was mentally unable to leave her dorm, for

8    fear that that rapist or someone who looks like him would cross her path.

9         34.    During Spring Break 2018, Ms. Williams was informed by the

10   police that the district attorney did not think they could win in court

11   (despite numerous confessions and a rape kit being positive for bilateral

12   vaginal erythema) and therefore, her rapists would not be prosecuted. Ms.

13   Williams was devastated and could not stop crying.

14        35.   Even after making her report to PSU’s Title IX Office in or

15   around October 2017, over six months elapsed before Penn State decided to

16   have a conduct conversation meeting with Ms. Williams’ rapist.

17   Facts- Ms. Williams Publicly Calls Out Penn State For Its Title IX Failures

18        36.   On or about April 5, 2018, Ms. Williams, frustrated with the

19   pace of Penn State’s response and investigation, took to Twitter.

20        37.   Specifically, Ms. Williams stated, “[w]hile we’re on the topic,

21   let’s also talk about how Penn State hides and undermines just how bad rape

22   on this campus actually is and how much rapists aren’t condoned (sic) no

23   matter the amount of evidence!!!!”

24        38.   Ms. Williams’ social media postings garnered significant

25   negative attention for Penn State. Numerous individuals responded to Ms.

26   Williams directly offering her support.

27        39.   Specifically, “AnkMan” stated, “I know how rapists are let off

28   easy. My gf was sexually assaulted almost a year ago (will be next week)



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1    and… the school gave him a slap on the damn wrist…PSU doesn’t take this shit

2    seriously and its (sic) concerning.”

3         40.   Upon information and belief, the exchange in the previous three

4    paragraphs was “liked” 807 times, and “retweeted” 247 times.

5         41.   Ms. Williams also stated, “[h]is name is [rapist] and he’s one

6    of the rapists that still walks freely on campus bc (sic) PSU keeps dragging

7    out the investigation after a year plus!!!...”.

8         42.   Upon information and belief, this message was “liked”

9    approximated 1,600 times and “retweeted” approximately 1,400 times.

10        43.   Numerous people specifically replied, publicly, to Ms. Williams.

11   For instance, “kay”, on or about April 6, 2018 stated, “...basically if you

12   are an athlete you can get accused of rape and literally nothing happen,

13   (sic) penn state (sic) got. (sic) A (sic) bad name for me now smh (sic).”

14        44.   Ms. Williams’ social media postings garnered significant

15   negative attention for Penn State. Numerous individuals responded to Ms.

16   Williams directly offering her support.

17        45.   Upon information and belief, in total, these “tweets” containing

18   the eight previous paragraphs were “liked” approximately 29,700 times, and

19   “retweeted” approximately 18,600 times.

20        46.   Ms. Williams’ Twitter thread about Penn State’s delay in

21   investigating her case, and their general poor handling of rape cases went

22   “viral” and upon information and belief, was viewed or shared or interacted

23   with close to a million times. Even Penn State faculty as well as the

24   student newspaper reached out to Ms. Williams offering to help.

25        47.   Very shortly after Ms. Williams’ Twitter feed went viral, on or

26   about April 19, 2018, Ms. Feldbaum contacted Ms. Williams, indicating that a

27   conduct conversation meeting was performed that day, and that one of her

28



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1    rapists was being charged by Penn State. The other rapist resigned from Penn

2    State rather than face discipline.

3    Facts- The Title IX Hearing

4         48.   Prior to the hearing (which occurred on or about May 18, 2018),

5    Ms. Williams was only given approximately five (5) hours to review the Title

6    IX investigation packet in preparation for the hearing. Penn State forbid

7    Ms. Williams from printing, saving, or downloading the Title IX

8    investigation packet for analysis and review.

9         49.   Upon information and belief, the version of the investigative

10   packet made available to Ms. Williams prior to the hearing was, at some

11   point, heavily edited by Penn State (several dozen pages were added to the

12   packet at some point after the hearing).

13        50.   Immediately prior to the hearing, wherein Ms. Williams was en

14   route, her vehicle broke down. As such, Ms. Williams called and requested a

15   continuance, but was discouraged against re-scheduling the hearing,

16   including but not limited to since, according to Ms. Feldbaum, rescheduling

17   so that Ms. Williams could appear in person rather than over the phone would

18   “give [the rapist] the upper hand.”

19        51.   In the hearing, Ms. Williams attempted to introduce evidence,

20   but was forbidden from presenting same because, according to the Decision

21   Panel (“DP”), no new evidence was permitted at the hearing.

22        52.   When Ms. Williams attempted to provide testimony, she was

23   forbidden multiple times by the DP to limit her testimony to “yes” and “no”

24   answers, at the request of the rapist and/or his lawyer. Ms. Williams was

25   not informed that her rapist had the advice of a lawyer.

26        53.   In the hearing, Ms. Williams was irrelevantly asked by the DP

27   “[h]ave you ever drank that much before?” Upon information and belief, this

28



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1    question was designed to blame Ms. Williams for drinking alcohol as the

2    reason that she was raped.

3         54.   In the hearing, the DP refused to consider Ms. Williams’ rape

4    kit evidence because the panel members did not understand the rape kit

5    terminology. The hearing was not otherwise continued in order for the DP to

6    learn said terminology or consult an expert to determine, for instance, the

7    meaning of the word “erythema.”

8         55.   In the hearing, the rapist refused to answer any question,

9    beyond saying “no comment” including but not limited to questions regarding

10   the meaning behind his text messages of “the conductor is back” and “code is

11   a toilet flush” to other men in the house.

12   Facts- The Title IX Decision and Appeals

13        56.   That day, DP determined that the rapist was “not responsible.”

14   The basis for the decision that he was not responsible is that:

15              The DP examined the investigative packet very carefully, along
                with any other information made available to it. Several
16              witnesses indicated that Ms. Williams had been drinking
                considerably the night of the incident. Detective Clause noted
17              that the complainant was “visibly intoxicated” the morning the
                police arrived at [rapist]’s apartment. Based on these accounts,
18              the DP concluded that by the time she arrived at [rapist]’s
                apartment, the complainant was very intoxicated, possibly to the
19              point of incapacitation. The DP also observed that, with the
                exception of [REDACTED], none of the people in [rapist]’s
20              apartment had been with the complainant earlier in the evening.
                Consequently, the DP could not conclude that [rapist] could have
21              known how much Ms. Williams had drunk. While in [rapist]’s
                apartment, the complainant, while very intoxicated, is reported
22              not to require assistance while walking, did not seem to have
                difficulty holding a conversation, and was texting while in
23              [rapist]’s bedroom. Hence, the DP could not conclude that there
                was a preponderance of evidence that [rapist] reasonably should
24              have known that Ms. Williams was incapacitated. Similarly, the
                DP could not determine that there was a preponderance of
25              evidence that [rapist] did not have consent for sexual
                intercourse.
26
          57.   The DP also noted, “the [DP] suggests to the Office of Student
27
     Conduct that [rapist] might be charged with Code of Conduct violation 02.15-
28



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1    Sexual Exploitation.” Upon information and belief, Penn State did not

2    properly investigate this recommendation from the DP.

3         58.   Despite the DP’s findings, the investigative packet contained

4    evidence that [the rapist] had to pour her alcohol “…because [Ms. Williams]

5    was too drunk to pour it herself and was about to throw up.”

6         59.   Despite the DP’s findings, the investigative packet contained

7    evidence that at approximately 9:00 a.m. the next morning, her Blood Alcohol

8    Content was 0.192.

9         60.   Despite the DP’s findings, the investigative packet contained

10   evidence that the police found multiple use condoms laying around the room

11   where the rape occurred.

12        61.   Despite the DP’s findings, the investigative packet contained

13   evidence that Ms. Williams was advised by the female friend who dropped her

14   off at her dorm after the S.M.A.R.T. social that she was so intoxicated that

15   she “should lock her door and go to sleep”, and that when this friend was

16   asked by Mr. Harris why she told Ms. Williams to lock her door and go to

17   sleep, she said that it was because she “could tell how intoxicated [Ms.

18   Williams] was.”

19        62.   Despite the DP’s findings, the investigative packet contained

20   evidence that Ms. Williams was asked by one of the female students whose

21   apartment the S.M.A.R.T. social was to stay at the apartment because she was

22   so intoxicated and, that she “wasn’t sure if [Ms. Williams] could make it

23   home and was worried for her safety.”

24        63.   Ms. Williams, on multiple occasions after the May 18, 2018

25   hearing, requested information about the outcome of her rapist’s case

26   (including but not limited to her appeal), and was denied information by

27   Penn State, including but not limited to being denied such information by

28



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1    Ms. Feldbaum, who refused to substantively answer many of Ms. Williams’

2    questions.

3         64.     Penn State continued to deny Ms. Williams’ requests on multiple

4    occasions. Penn State did not respond to Ms. Williams directly, but Ms.

5    Feldbaum eventually informed Ms. Williams that Ms. Williams’ questions were

6    more appropriate for the DP.

7         65.     Ms. Williams then asked to speak with the DP, and was denied

8    that request.

9    Facts- Mr. Prawdzik and ENGLISH 202A

10        66.     On or about August 26, 2019, Ms. Williams began classes in Penn

11   State’s English Course Number 202A, taught by Mr. Prawdzik.

12        67.     In part due to being a rape survivor, Ms. Williams utilized Penn

13   State’s mental health treatment services to treat for emotional distress

14   related to the rape, and Penn State’s response thereto.

15        68.     During this time, Ms. Williams specifically suffered from

16   depression and anxiety, and occasionally suffered from an inability to

17   function, including but not limited to, going to class.

18        69.     As a Black woman, Ms. Williams chose racism as her topic for a

19   semester long English project.

20        70.     When Mr. Prawdzik learned of Ms. Williams’ topic choice, he held

21   her back after class and tried to convince Ms. William’s that minorities are

22   partly at fault for the systematic racism that they experience.

23        71.     Ms. Williams specifically disagreed with Mr. Prawdzik and he

24   engaged her in a debate for approximately one hour, before Ms. Williams

25   stated “you are not changing my mind” and left the meeting.

26        72.     Upon information and belief, Mr. Prawdzik did not meet with

27   other students who did not pick racism regarding their respective chosen

28



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1    topic for this assignment, and/or were not Black, in order to try to

2    convince them to change their topics.

3         73.   Ms. Williams was appalled, humiliated, and ultimately refused to

4    change the topic of this assignment.

5         74.   Ms. Williams’ experience with professors who she suspected to be

6    racially biased, including but not limited to Mr. Prawdzik, contributed to

7    her anxiety and caused her to become extremely anxious about attending

8    English class, and she missed a number of classes due to her anxiety.

9         75.   Ms. Williams thereafter missed some of Mr. Prawdzik’s English

10   classes.

11        76.   On or about October 11, 2019, Ms. Williams emailed Mr. Prawdzik

12   informing him that she had missed class due to health reasons, and that she

13   would supply excuses.

14        77.   On or about October 14, 2019, Mr. Prawdzik approached Ms.

15   Williams, in front of the entire class, and loudly requested her health care

16   information and medical excuses and stated he would be checking to make sure

17   her documentation was “legit.”

18        78.   Ms. Williams, who wanted to maintain her private medical

19   information separate and apart from her classmates, requested that Mr.

20   Prawdzik communicate with her privately about these issues, preferably, via

21   email; since she initiated this private topic via private communication

22   methods, she expected his response to also be private, not in front of the

23   whole class.

24        79.   Mr. Prawdzik walked away from Ms. Williams and about five

25   minutes later he returned to Ms. Williams and loudly asked if she “want[ed]

26   to talk about this inside of class or outside of class.”

27        80.   Ms. Williams was confused, and responded “I guess outside.”

28



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1         81.   Mr. Prawdzik stormed out of the room, and Ms. Williams, still

2    confused, followed him into the hallway.

3         82.   Ms. Williams asked Mr. Prawdzik (paraphrased) “what did I do?

4    What are you mad about? All I asked is if we could continue communicating

5    about my private matters through email, like I already initiated through

6    email.”

7         83.   Mr. Prawdzik replied (paraphrased) “you have been a class

8    disruption” and told her that she “would not be in the class anymore.”

9         84.   Earlier in the semester, Mr. Prawdzik emailed Ms. Williams,

10   stating that she was “doing good” and “making good progress” in the class,

11   with no mention of being a class disruption.

12        85.   At the conclusion of the conversation, Ms. Williams went back

13   into the classroom, and asked why she had to leave since she didn’t do

14   anything wrong.

15        86.   Mr. Prawdzik then said he was calling the police.

16        87.   Mr. Prawdzik then picked up the classroom’s telephone receiver.

17        88.   Ms. Williams then said Mr. Prawdzik was acting in a racist

18   fashion, and that she would notify the Education Equity Office (of Penn

19   State) about his inappropriate actions, and then she left.

20        89.   Mr. Prawdzik called out after her “good!”

21        90.   Later that day, Ms. Williams wrote a report in Dr. Whitehurst’s

22   assistant’s office about Mr. Prawdzik’s racial discrimination and then

23   submitted it online to Penn State (which eventually ended up with the

24   Affirmative Action office).

25        91.   Mr. Prawdzik falsely asserted to the Affirmative Action Office

26   that Ms. Williams had missed more classes than she actually did, and then

27   stated that because she reported him to the Affirmative Action office, that

28   he would not grade her work, he would not give her an alternative to



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1    complete the course, that she would receive an “F” in his class, and that

2    the grade was final.

3         92.   Upon information and belief, the Affirmative Action Office

4    instructed Mr. Prawdzik to allow Ms. Williams to complete the course, and

5    upon Mr. Prawdzik’s refusal, Penn State did not take appropriate further

6    action to effectively remediate Mr. Prawdzik’s admitted, open, and obvious

7    retaliation.

8         93.   While waiting for a meeting at the Office of Student Conduct, a

9    front office worker, Hilda Sparrow sat down next to Ms. Williams.

10        94.   Ms. Sparrow placed her hand on Ms. Williams’ leg, and,

11   unsolicited, stated, “Kayla… You’re a smart, pretty girl. I think your

12   majors are perfect for you.” Ms. Sparrow then paused, and continued, “Why

13   don’t you just forget about what happened to you?”

14        95.   Ms. Williams felt as if Ms. Sparrow was warning Ms. Williams

15   that as long as Ms. Williams insisted on answers to her questions regarding

16   the Title IX hearings and complaining about racism, that Ms. Williams would

17   have problems at school, and that her issues would stop as soon as Ms.

18   Williams stopped talking about Title IX and racism.

19        96.   Ms. Williams replied, “[f]orget? I hate even walking into the

20   OSC office because of everything that has occurred and it just mentally

21   messes with me.”

22        97.   Ms. Sparrow responded, “I know, I see it in your face every time

23   you walk in there.”

24        98.   Ms. Williams still has an “F” on her transcript, and Penn State

25   has not acted to remove the “F” grade in a manner that does not bring

26   financial and academic harm to Ms. Williams (via Penn State offering a late

27   add/drop and then re-taking the class, which would be indicated on her

28



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1    transcript permanently while also requiring Ms. Williams to pay for the

2    course again).

3    Facts- Ms. Yarwood and PSYCH 425

4         99.      On or about January 13, 2020 Ms. Williams started classes in

5    Penn State’s Psychology Course Number 425 taught by Ms. Yarwood.

6         100.     This class focused on “Human Emotions.” Ms. Williams was excited

7    for this class, because since her rape, her emotional state was broken.

8         101.     Ms. Williams took two quizzes on or about January 29, 2020.

9         102.     Quizzes are graded by a computer, wherein Ms. Yarwood entered

10   the correct answers into a computer program, which then compared the answers

11   supplied by Ms. Yarwood to the answers submitted by the student to produce a

12   grade.

13        103.     Upon information and belief, Ms. Yarwood mistakenly entered an

14   answer incorrectly on each of these quizzes, which resulted in the class

15   getting those answers marked incorrect and losing points for same.

16        104.     On one of the quiz questions (on both quizzes), Ms. Williams

17   answered a particular multiple-choice question wrong.

18        105.     Ms. Williams asked her friends to compare answers so she could

19   study for future exams, and discovered that her classmates (names withheld

20   for privacy purposes but available in discovery pursuant to a protective and

21   confidentiality order), two white students, answered the same multiple

22   choice answer as Ms. Williams did, but those white students had been awarded

23   the points as if they answered the question correctly.

24        106.     Ms. Williams contacted Ms. Yarwood via e-mail about the

25   discrepancy in grading.

26        107.     Ms. Yarwood responded by explaining why she was wrong.

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1         108.   Ms. Williams responded that it was unfair that she would not get

2    the credit when other students were given credit for the same wrong answer

3    to the same question.

4         109.   Ms. Williams then met with Ms. Yarwood about the quizzes.

5         110.   Ms. Williams said (paraphrased) “I understand why it is wrong,

6    but it is unfair and biased to let certain students get credit for the wrong

7    answer and not others.”

8         111.   Ms. Yarwood responded that the credit had been removed from the

9    white students, and she also told Ms. Williams that she could ask her

10   friends for that confirmation email indicating that the white students’

11   credit had been removed.

12        112.   Ms. Williams asked the white students if the credit was removed.

13        113.   They replied that the credit was initially removed, but then,

14   subsequently given back, resulting in their receiving credit for getting the

15   wrong answer.

16        114.   Ms. Williams confirmed that she was still not given credit for

17   the same answer, even though it is believed to have been given to the white

18   classmates (names withheld for privacy purposes but available in discovery

19   pursuant to a protective and confidentiality order).

20        115.   Following the next class, Ms. Williams approached Ms. Yarwood

21   after class to discuss the quiz grading discrepancy and a white student in

22   front of Ms. Williams asked Ms. Yarwood why their grade was inflated.

23        116.   The white student said that their “backpack Number 2” assignment

24   had been made into extra credit.

25        117.   Upon hearing same, Ms. Williams exclaimed “my backpack Number 2

26   assignment was not extra credit.”

27        118.   Ms. Yarwood immediately replied “I just changed it.”

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1         119.   Ms. Williams just before class checked her grades, and the

2    backpack Number 2 assignment was not extra credit at that time. Ms. Williams

3    checked again after Ms. Yarwood indicated that she “just changed it” and

4    despite Ms. Yarwood’s statement, the assignment was not listed as extra

5    credit for Ms. Williams.

6         120.   Ms. Williams then emailed Ms. Yarwood regarding the quizzes and

7    the backpack Number 2 assignment.

8            a. Ms. Williams asked, “[y]ou stated during our meeting that you

9                took the points back that were freely given to some but not

10               others on quiz 1, but I have since discovered, with proof, that

11               you actually gave everyone an additional 0.5 points on quiz 1,

12               but not me. Can you explain that?”

13           b. Ms. Williams stated, “I should have been in the group that got

14               the additional points for quiz 1. You are refusing to give me

15               the same extra points that you gave others. Can you explain to

16               me the reason behind this?”

17           c. Ms. Williams stated, “[c]an you explain to me how/why I have

18               proof that PB#2 showing up as extra credit in the grade book for

19               the class, but not me? (I have proof.. before you changed it

20               after I overheard the girl bring it up to you after class).”

21           d. Ms. Williams stated, “[c]an you inform me how/why the class

22               received an additional 0.5 on quiz 2 also, but I did not? (I

23               have proof).”

24        121.   Ms. Yarwood responded that “I discussed your concerns about bias

25   and unfairness with [the head of psychology department]. I will not be

26   responding to [your questions regarding bias and unfairness],” and that she

27   “could do a grade appeal at the end of the semester.”

28



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1         122.   Throughout the rest of the class, Ms. Yarwood would use examples

2    in class about injustice, angry emotions and stare at Ms. Williams and smirk

3    as she detailed these examples.

4         123.   On or about January 20, 2020, Ms. Williams contracted severe

5    bronchitis, and was incapacitated by same for approximately one week. Ms.

6    Williams went to the hospital, and had a University wide doctor’s note

7    excusing her from all University activities.

8         124.   Due to this note, Ms. Yarwood allowed Ms. Williams to make up an

9    assignment. Ms. Williams wrote down the grading guidelines on the assignment

10   through the Backpack system, and followed them, as she had done on her

11   previous assignments.

12        125.   Ms. Yarwood did not use the same grading guidelines as published

13   by Backpack that she used with all the other students in the class, and

14   instead created a special grading system that was harsher, and upon

15   information and belief, only used for Ms. Williams’ assignment.

16        126.   Ms. Williams emailed Ms. Yarwood, “[y]ou created an entirely

17   stricter rubric than the PB websites use to grade assignments and that no

18   other student has been graded off of. Please give me back the points you

19   unfairly [docked].”

20        127.   Ms. Yarwood responded that she was not giving Ms. Williams any

21   points back, was not answering any questions about the assignment, and to

22   take any further concerns to the head of the psychology department.

23        128.   Ms. Yarwood continued to smirk at Ms. Williams during class at

24   the same time as discussion emotional topics. Ms. Williams eventually broke

25   down and stated, “[y]ou can keep smirking and messing with me if you want.

26   You can answer my questions in court.” Ms. Williams then left class and

27   dropped the course.

28



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1         129.   After dropping the course, Ms. Williams emailed Ms. Yarwood and

2    the head of the Psychology department and asked for the rubric used to grade

3    her makeup work that Ms. Yarwood made up just for Ms. Williams, that was

4    harsher than the grading of the rest of the class. Ms. Williams received no

5    response, until she emailed twice more. The psychology department head

6    finally responded that no one would be sending Ms. Williams the grading

7    rubric.

8    Facts – Ms. Williams is Suspended by Penn State

9         130.   On or about January 21, 2020, Ms. Williams was suffering from

10   viral bronchitis and went to the Penn State student health service.

11        131.   On or about January 22, 2020, Ms. Williams was called to a Penn

12   State-scheduled conduct conversation meeting regarding her alleged

13   harassment of a former roommate, and an alleged assault against a “ride-

14   share” driver for January 25, 2020.

15        132.   Ms. Williams, suffering from bronchitis, did not learn of the

16   meeting until after the time for same had passed.

17        133.   Ms. Williams did have a University medical excuse for all

18   University activities, which included the date and time of her meeting for

19   the conduct conversation meeting.

20        134.   As an accused student, Ms. Williams had the right to participate

21   in the conduct conversation meeting prior to a finding of probable cause

22   being levied against her.

23        135.   Though accused students are warned that failure to attend the

24   conduct conversation meeting would result in the process continuing without

25   the input of the accused student, Ms. Williams was medically excused from

26   this meeting. Based on this medical excuse, Ms. Williams requested that her

27   conduct conversation meeting be rescheduled.

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1         136.   On several occasions, including but not limited to on or about

2    February 13, 2020, Ms. Williams was denied a conduct conversation meeting

3    despite her medical excuse covering the date of the previously scheduled and

4    medically excused conduct conversation meeting by Ms. Langford.

5         137.   On several occasions, including but not limited to on or about

6    February 13, 16, 17, 20, and 21, 2020, Ms. Williams was denied the specific

7    information that was alleged to be a violation of student conduct, and

8    ultimately did not have five-days-notice of the specific information from

9    incident reports which formed the basis for her misconduct charges, in

10   violation of Penn State policies and procedures (in part because Ms.

11   Williams was denied her conduct conversation meeting).

12        138.   Ms. Williams, shocked that Penn State would ignore a medical

13   excuse, reiterated that she did not get the benefit of a conduct

14   conversation meeting and per Penn State’s policies and procedures, missed

15   same due to a medical reason and reported the Office of Student Conduct to

16   the Affirmative Action office as a result.

17        139.   Penn State allowed Ms. Williams to contest the charges, but

18   repeatedly refused to allow Ms. Williams to engage in a conduct conversation

19   meeting as was her right under the policies and procedures of Penn State.

20        140.   On February 19, 2020, Ms. Williams filed a lawsuit against Penn

21   State University for violations of, inter alia, due process, Title VI, and,

22   Title IX.

23        141.   On February 20, 2020, Penn State was served with the lawsuit.

24        142.   On February 20, 2020, numerous news articles were published

25   regarding the lawsuit Ms. Williams filed against Penn State.

26        143.   On February 21, 2020, Penn State held a hearing to determine

27   whether Ms. Williams was responsible for harassment of her former roommate,

28   and/or assaulting a “ride share” driver.



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1            144.   The morning of the hearing, in direct violation of Penn State

2    policies and procedures which guarantee two-days-notice of any witness

3    statements to be used in the hearing, the Office of Student Conduct provided

4    a written statement from one of the accusing witnesses to Ms. Williams and

5    the DP.

6            145.   In the hearing, Ms. Williams was the only witness to appear;

7    neither the roommate who alleged that Ms. Williams harassed her, nor the

8    “ride-share” driver who alleged that Ms. Williams assaulted him appeared at

9    the hearing to provide testimony or answer questions, depriving Ms. Williams

10   the ability to ask them questions; but Penn State found those non-present

11   and unchallenged paper witnesses to be credible.

12           146.   Ms. Williams’ advisor was forbidden by the DP to speak at all

13   with Ms. Williams during the hearing (unless there was a break in the

14   proceedings, though no such breaks were scheduled or otherwise occurred

15   during the hearing).

16           147.   In the hearing, Ms. Williams was admonished for her presentation

17   because according to the DP, “this [hearing] is only about two” charges, and

18   Ms. Williams, who had repeatedly asked which parts of the incident report

19   the basis for the charges were, had to do a line by line rebuttal.

20           148.   The DP forced Ms. Williams to discuss (in the nature of

21   speculation) as to why various persons took various actions or had various

22   understandings, despite that Ms. Williams would have no way of knowing that

23   information, then used Ms. Williams’ incoherency during part of her hearing,

24   which was based in part on not knowing how to answer those questions that

25   were improperly directed at her forcing her into speculation about topics

26   for which she had no personal knowledge such as absent witnesses’ state of

27   mind.

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1         149.     Ms. Williams protested the conduct of the hearing as a violation

2    of the Penn State policies and procedures on the basis of never having had

3    the opportunity to engage in a conduct conversation meeting despite her

4    medical excuse.

5         150.     Ms. Williams protested perceived bias against her during the

6    hearing (based on how she was treated as a victim in her Title IX case in

7    2018 as previously described) and informed the DP that she had filed a

8    federal lawsuit against Penn State because of her ongoing problems with

9    getting anyone in the administration to take her concerns seriously.

10        151.     Later that same day, Ms. Williams was informed by Lauren

11   Langford that the DP concluded to suspend Ms. Williams.

12        152.     On or about February 28, 2020, the DP released its rationale for

13   its decision to suspend Ms. Williams.

14        153.     The DP made a specific finding that the former roommate who did

15   not attend the hearing, and thus, could not be questioned, “appeared to be

16   traumatized” and was more credible than Ms. Williams.

17        154.     The DP made a specific finding that the “ride share” driver who

18   also did not attend the hearing, and thus, could not be questioned,

19   “appeared to be traumatized” and was more credible than Ms. Williams.

20        155.     The DP made a specific finding that the former roommate who did

21   not attend the hearing’s mother, who also did not attend the hearing (or

22   even provide a witness statement), and thus, could not be questioned, “would

23   not have flown here from Colorado” unless her daughter was telling the

24   truth.

25        156.     The DP made specific findings unrelated to the issues before

26   them, including but not limited to:

27              a. Ms. Williams’ challenge as to the authenticity and completeness

28                 of evidence presented in a court proceeding;



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1            b. A mistake about the contents of the packet provided to her when

2                 she arrived at the hearing (including the just that morning

3                 addition which violated the two days’ notice rule);

4            c. An incident about dirty dishes; and,

5            d. Whether or not Ms. Williams and her roommates had a chore

6                 schedule.

7          157.   The DP made a specific finding that since Ms. Williams “conceded

8    that [the ride share driver] wanted to cancel the ride” because he had to

9    wait for her outside of Wal-Mart, that he could not have been aggressive

10   with Ms. Williams. Not only is this a failure of logic, but not what was

11   actually said in the hearing, wherein Ms. Williams never “conceded” same.

12         158.   Ms. Williams appealed the DP’s decision on the (in part) bases

13   of:

14           a. Deprivation of “stated procedures of PSU when, [Ms. Williams]

15                was charged without the opportunity to have a conduct

16                conversation with a case manager, when [Ms. Williams] had a

17                University Wide Excuse from all activities for health reasons

18                and was unable to attend the meeting with the case manager”;

19           b. Deprivation of “stated procedures of PSU, when despite [Ms.

20                Williams’] University Wide Excuse from all activities for health

21                reasons, the Office of Student Conduct refused to allow [Ms.

22                Williams] to meet with the case manager, only permitted me to

23                contest [Ms. Williams’] charges and have a hearing”;

24           c. Deprivation of “stated procedures of PSU, when due to their

25                failure to attend the hearing, [Ms. Williams] was unable to ask

26                questions of Amanda Beck, Dennis Shea, and John Petriluch, who

27                were witnesses in the hearing through their written testimony.”;

28



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1            d. Deprivation of “stated procedures of PSU, when John Petriluch’s

2                statement was included in the information packet for the hearing

3                board on the morning of the hearing, and [Ms. Williams] did not

4                have at least two days to review it.”;

5            e. Deprivation of “[Ms. Williams’] rights, because [Ms. Williams]

6                was unable to cross examine Amanda Beck’s written statement,

7                whom the board determined, despite her absence at the hearing

8                and the lack of cross examination, to be credible.”;

9            f. Deprivation of “[Ms. Williams’] rights, because [Ms. Williams]

10               was unable to cross examine the Uber Driver’s written statement,

11               whom the board determined, despite his absence at the hearing

12               and the lack of cross examination, to be credible.”;

13           g. Deprivation of “[Ms. Williams’] rights, because [Ms. Williams]

14               was unable to cross examine Dennis Shea’s written statement,

15               whom the board determined, despite his absence at the hearing

16               and the lack of cross examination, to be credible.”;

17           h. Evaluation of “various irrelevant incidents outside of the

18               charges, which denied [Ms. Williams] the investigative and

19               procedural protections of PSU policies related to the conduct

20               process.”;

21           i. “The Board made findings that are completely unsupported by the

22               evidence.”; and,

23           j. “The sanction of suspension is not justified by the nature of

24               the violation.”

25        159.   In preparing for the appeal, Penn State refused to give Ms.

26   Williams a copy of the hearing recording.

27        160.   In preparing for the appeal, Penn State refused to allow Ms.

28   Williams to record the recording of the hearing.



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1         161.   On March 19, 2020, Penn State, through Ms. Gaudelius, denied her

2    appeal, and suspended Ms. Williams.

3         162.   These causes of action follow:

4                                       COUNT I

5                               Title VI – Retaliation

6                        Against Mr. Prawdzik and Penn State

7         163.   All other paragraphs are incorporated.

8         164.   Penn State receives federal funding and is therefore a covered

9    entity under Title VI and prohibited from engaging in retaliation on the

10   basis of protected activity on the basis of race.

11        165.   Mr. Prawdzik is a “person” within the meaning of the anti-

12   retaliation provisions of Title VI.

13        166.   On or about October 14, 2019, Ms. Williams engaged in Protected

14   Activity when she, inter alia, reported Mr. Prawdzik, to the Penn State

15   Affirmative Action office, accusing him of racial bias.

16        167.   On or about December 19, 2019 Mr. Prawdzik stated that, inter

17   alia, Ms. Williams would receive an “F” in his course, and he would not

18   evaluate any of her work, specifically because she reported him to Penn

19   State’s Affirmative Action Office accusing him of racial bias.

20        168.   Penn State was aware of Mr. Prawdzik’s statement, yet failed to

21   remediate his retaliatory intent or the effect of his retaliatory actions,

22   whereby, Ms. Williams’ transcript continues to reflect that she failed her

23   English class with Mr. Prawdzik.

24        169.   Ms. Williams was injured and suffered damages which were

25   directly and proximately caused by Mr. Prawdzik’s and Penn State’s acts and

26   omissions as described in this Count.

27                    COUNT II (in the alternative to Count III)

28                Procedural Due Process (Deviation from Procedure)



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1         Against Penn State, and Ms. Langford, Ms. Feldbaum, Ms. Gaudelius

2         170.    All other paragraphs are incorporated, except those contained in

3    Count III.

4         171.    The Fourteenth Amendment provides that no person shall be

5    deprived of life liberty or property without due process of law.

6         172.    This guarantee encompasses both a substantive and procedural

7    component.

8         173.    The procedural due process clause protects individual liberty

9    against, inter alia, certain government actions taken upon unfair deviation

10   from the mechanism to prevent due process violations.

11        174.    Ms. Williams has a protected property interest in continuing her

12   degree studies at Penn State.

13        175.    Penn State established and published student discipline policies

14   and procedures including but not limited to the a pre-deprivation conduct

15   conversation meeting, during which an accused student meets with an Office

16   of Student Conduct case manager to discuss the alleged actions which are

17   being considered to be potential violations of student conduct and for the

18   accused student to give her side of the story, prior to the Office of

19   Student Conduct deciding to charge that student with misconduct.

20        176.    Penn State, through its employees Ms. Langford (the student

21   conduct case manager), and Ms. Feldbaum (one of Ms. Langford’s supervisor at

22   Penn State) acting under the color of state law via their authority derived

23   from their positions at Penn State, unfairly deviated from its own policy

24   when, despite Ms. Williams possessing a valid University wide medical excuse

25   which covered the day of her scheduled conduct conversation meeting and

26   making numerous requests for Ms. Langford to reschedule the meeting,

27   followed by Ms. Feldbaum telling Ms. Williams her conduct conversation

28   meeting would not be rescheduled, these defendants, skipped a step in Penn



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1    State’s own discipline process and deprived Ms. Williams of her right to

2    provide information to the Office of Student conduct and obtain information

3    from the Office of Student Conduct regarding the specifics of the alleged

4    actions and how they potentially violate Student Conduct through that

5    meeting, prior to Ms. Williams being charged.

6         177.   Ms. Langford’s and Ms. Feldbaum’s unfair deviation from this

7    policy was protested by Ms. Williams before, during, and (in an appeal)

8    after her misconduct hearing, including but not limited to Ms. Williams, on

9    numerous occasions, stating that because she did not have a conduct

10   conversation meeting, she was unaware of what specific actions were being

11   considered to be violations of the Code of Conduct.

12        178.   Penn State affirmed Ms. Langford’s initial unfair deviation from

13   this policy when, prior to the hearing, one of her supervisors, Ms.

14   Feldbaum, with specific knowledge of Ms. Langford’s deviation from Penn

15   State’s policy with regard to pre-deprivation conduct conversation meetings,

16   refused to reschedule the conduct conversation meeting.

17        179.   Penn State again affirmed the unfair deviation from this policy

18   when, during the hearing, the DP, with specific knowledge of Ms. Langford’s

19   and Ms. Feldbaum’s deviation from Penn State’s policy with regard to pre-

20   deprivation conduct conversation meetings, continued the hearing despite the

21   lack of a conduct conference meeting.

22        180.   Penn State, through Ms. Gaudelius, ultimately affirmed the

23   deviation by denying Ms. Williams’ appeal and suspending Ms. Williams,

24   without permitting her to have a pre-deprivation conduct conversation

25   meeting.

26        181.   As a direct and proximate result of these deviations from Penn

27   State’s policy, Ms. Williams was denied the due process protections of Penn

28   State’s policies and procedures, specifically including but not limited to



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1    the opportunity to tell her side of the story and offer evidence to the

2    Office of Student Conduct outside of the adversarial process of a conduct

3    hearing and before she was charged with misconduct.

4         182.   Upon information and belief, Penn State also established and

5    published student discipline policies and procedures providing an accused

6    student with five-days-notice of the specific actions which violated the

7    student conduct code.

8         183.   Penn State unfairly deviated from its own policy when, despite

9    the fact that Ms. Williams requested from Ms. Langford, the specific

10   information from the incident reports which were being considered potential

11   violations of the conduct code, Ms. Williams was denied the specific

12   information that was alleged to be a violation of student conduct, including

13   but not limited to on February 13, 16, 17, 20, and 21, 2020, by Ms.

14   Langford, and affirmed by Ms. Feldbaum.

15        184.   As a direct and proximate result of Ms. Langford’s deviations

16   and Ms. Feldbaum’s affirmation of deviations, Ms. Williams did not have

17   five-days-notice of the specific information from incident reports which

18   formed the basis for her misconduct charges, in violation of Penn State

19   policies and procedures (in part because Ms. Williams was denied her conduct

20   conversation meeting).

21        185.   As a direct and proximate result of Penn State’s deviation from

22   the five-days-notice policy, Ms. Williams was unaware of which parts of the

23   incident reports (one of which she only received that morning) depriving her

24   of proper notice and opportunity to prepare a response to the charges, and

25   required her to, in the hearing, respond line by line to the incident

26   reports (for which she was admonished by the DP for going beyond “only the

27   two” charges.

28



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1         186.   Penn State affirmed the unfair deviation from this policy when,

2    during the hearing, the DP, with specific knowledge of Ms. Langford’s and

3    Ms. Feldbaum’s deviation from Penn State’s policy with regard to five-days-

4    notice of the specific information forming the basis for misconduct charges,

5    continued the hearing despite the lack of required notice.

6         187.   Penn State, through Ms. Gaudelius, ultimately affirmed the

7    deviation by denying Ms. Williams’ appeal and suspending Ms. Williams, where

8    she was forced to defend herself at a hearing without the required five-

9    days-notice of the specific actions providing the bases for her charges.

10        188.   Upon information and belief, Penn State also established and

11   published student discipline policies and procedures providing the

12   opportunity for an accused student to consult with their advisor quietly or

13   in writing during a session, or outside during breaks.

14        189.   Penn State unfairly deviated from this policy and procedure when

15   in Ms. Williams’ hearing, her advisor was forbidden from quietly speaking to

16   her at all during the hearing, and only being permitted to do so during

17   breaks.

18        190.   This unfair deviation from policy directly and proximately

19   caused Ms. Williams to be denied her right to speak with her advisor during

20   the hearing, depriving her of her due process rights under Penn State’s

21   policy.

22        191.   Penn State, through Ms. Gaudelius, ultimately affirmed the

23   deviation by denying Ms. Williams’ appeal and suspending Ms. Williams, where

24   she was prevented from quietly communicating with her advisor during the

25   hearing.

26        192.   Upon information and belief, Penn State also established and

27   published student discipline policies and procedures providing the

28



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1    opportunity for a student accused of misconduct to question her accusers in

2    a misconduct hearing.

3         193.   Penn State unfairly deviated from its own policy when, despite

4    the fact that no accusers testified against Ms. Williams before the hearing

5    panel, the hearing proceeded without their testimony preventing Ms. Williams

6    the opportunity to cross examine them.

7         194.   This unfair deviation from policy directly and proximately

8    caused Ms. Williams to be unable to challenge the credibility of the

9    witnesses used against her and, nonetheless, the hearing panel made

10   credibility assessments of accusing witnesses who were not present before it

11   or otherwise subject to cross examination in any way, and found those non-

12   present and unchallenged accusers to be credible, and suspended Ms. Williams

13   purportedly on the basis of those credibility determinations.

14        195.   Penn State, through Ms. Gaudelius, ultimately affirmed the

15   deviation by denying Ms. Williams’ appeal and suspended Ms. Williams without

16   permitting Ms. Williams the opportunity to in any way question the accusing

17   witnesses against her.

18        196.   Upon information and belief, Penn State also established and

19   published student discipline policies and procedures providing two-days-

20   notice of any witness statements to be used in a conduct hearing.

21        197.   Penn State unfairly deviated from its own policy when, despite

22   the fact that an accusing witness’s statement was only provided the morning

23   of the hearing, it was used against Ms. Williams in the hearing to find her

24   responsible for misconduct.

25        198.   This unfair deviation from policy directly and proximately

26   caused Ms. Williams to be deprived of a meaningful opportunity to review the

27   witness statement, prepare for the hearing, and/or utilize her advisor.

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1         199.    Penn State, through Ms. Gaudelius, ultimately affirmed the

2    deviation by denying Ms. Williams’ appeal and suspended Ms. Williams without

3    permitting Ms. Williams the required two days’ notice of an accusing

4    witness’ written statement being presented in the hearing.

5         200.    Upon information and belief, Ms. Williams’ suspension, even if

6    based on procedures that did not violate due process as discussed supra, was

7    outside the range of punishments applicable to the actions with which Ms.

8    Williams was accused and thereby also violated her due process rights.

9         201.    Ms. Williams was injured and suffered damages via a two-semester

10   suspension which were directly and proximately caused by Penn State’s acts

11   and omissions as described in this Count.

12                     COUNT III (In the alternative to Count II)

13                        Constitutionally Deficient Policies

14                                   Against Penn State

15        202.    All other paragraphs are incorporated, except those contained in

16   Count II.

17        203.    The Fourteenth Amendment provides that no person shall be

18   deprived of life liberty or property without due process of law.

19        204.    This guarantee encompasses both a substantive and procedural

20   component.

21        205.    The procedural due process clause protects individual liberty

22   against, inter alia, certain government actions taken without a sufficient

23   mechanism in connection to that deprivation that satisfies the requirements

24   of due process.

25        206.    Ms. Williams has a protected property interest in continuing her

26   degree studies at Penn State.

27        207.    Penn State through one or more of its decisionmakers,

28   established and published student discipline policies and procedures which



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1    deficiently permit a hearing panel to make credibility assessments of

2    accusing witnesses who are not present before it or otherwise subject to

3    questioned by the accused student in any way.

4         208.   The hearing panel made credibility assessments of accusing

5    witnesses who were not present before the panel for testimony or questioning

6    by the accused student, Ms. Williams.

7         209.   The deficient policies allowing a hearing panel to make

8    credibility assessments of accusing witnesses who do not appear before it,

9    and who cannot be questioned or cross examined, directly and proximately

10   prevented Ms. Williams from challenging her non-present accusers’

11   credibility; nonetheless, the hearing panel found non-present non-challenged

12   witnesses as credible, leading to Ms. Williams’ two semester suspension.

13        210.   Penn State, through one or more of its decisionmakers, also

14   established and published student discipline policies and procedures which

15   deficiently failed to establish a proper procedure to account for reasonable

16   excuses for an accused student’s missing a scheduled conduct conversation

17   meeting including, inter alia, the rescheduling of an accused student’s

18   conduct conversation meeting in light of a university excused medical issue.

19        211.   As a direct and proximate result of Penn State’s deficient

20   policy and procedure, i.e., failing to establish a proper procedure to

21   account for reasonable excuses for an accused student missing a scheduled

22   conduct conversation meeting, Ms. Williams’ conduct conversation meeting was

23   skipped by the University thereby depriving Ms. Williams of the procedural

24   opportunity to tell her side of the story and offer evidence to the Office

25   of Student Conduct outside of the adversarial process of a conduct hearing

26   and before being charged with misconduct in the first instance.

27

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1         212.     Ms. Williams was injured and suffered damages which were

2    directly and proximately caused by Penn State’s acts and omissions as

3    described in this Count.

4                                        COUNT IV

5                                Title VI Discrimination

6                                   Against Penn State

7         213.     All other paragraphs are incorporated.

8         214.     No person in the United States shall, on the ground of race…be

9    excluded from participation in, be denied the benefits of, or be subjected

10   to discrimination under any program or activity receiving Federal financial

11   assistance.

12        215.     Penn State receives federal funding and is therefore a covered

13   entity under Title VI.

14        216.     Ms. Yarwood, as a Penn State Professor was acting in the course

15   and scope of her employment when she graded quizzes and homework.

16        217.     On or about January 29, 2020, Ms. Yarwood refused to correct a

17   mistakenly graded psychology quiz of Ms. Williams.

18        218.     Causation can be inferred that said refusal was racially

19   discriminatory under “any program or activity” receiving Federal financial

20   assistance, on the bases of Ms. Yarwood correcting the mistake for similarly

21   situated non-Black students, and lying to Ms. Williams about having fixed

22   the mistake (awarding points to similarly situated white students for

23   missing the same questions as Ms. Williams), thereby denying the benefits

24   of, and subjecting Ms. Williams to discrimination.

25        219.     On or about January 29, 2020, Ms. Yarwood refused to correct a

26   second mistakenly graded psychology quiz of Ms. Williams.

27        220.     Causation can be inferred that said refusal was racially

28   discriminatory under “any program or activity” receiving Federal financial



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1    assistance, on the bases of Ms. Yarwood correcting the mistake for similarly

2    situated non-Black students, and lying to Ms. Williams about having fixed

3    the mistake (awarding points to similarly situated white students for

4    missing the same questions as Ms. Williams), thereby denying the benefits

5    of, and subjecting Ms. Williams to discrimination.

6         221.   Ms. Yarwood deflated the value of Ms. Williams’ psychology

7    homework by refusing to designate that assignment as extra credit, and also

8    by using a stricter rubric with another one of Ms. Williams’ homework

9    assignments, which, upon information and belief, was not the same rubric Ms.

10   Yarwood used to evaluate the similarly situated non-Black classmates of Ms.

11   Williams.

12        222.   Causation can be inferred that said refusal was racially

13   discriminatory under “any program or activity” receiving Federal financial

14   assistance, on the bases of Ms. Yarwood designating similarly situated non-

15   Black students’ homework as extra credit for them, but not for Ms. Williams,

16   and lying to Ms. Williams about the adjustment of Ms. Williams’ homework to

17   score it as extra credit, as she had done with similarly situated non-Black

18   students’ same homework assignment.

19        223.   Penn State was aware of Ms. Yarwood’s discriminatory grading yet

20   failed to remediate her discriminatory intent or the effect of her

21   discriminatory actions, and Ms. Williams, with no other recourse, had no

22   other reasonable option but to drop the course.

23        224.   Ms. Williams was injured and suffered damages which were

24   directly and proximately caused by Penn State’s acts or omissions as

25   described in this Count.

26                COUNT V (In the alternative to Counts VI and VIII)

27               Negligent Hiring/Appointment of Title IX Hearing Panel

28                                Against Penn State



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1         225.   All other paragraphs are incorporated except those in Counts VI

2    and VIII.

3         226.   Penn State has a duty, for the benefit of its community members

4    including but not limited to Ms. Williams, to hire or otherwise appoint

5    competent Title IX Decision Panel members such competency to include

6    knowledge of basic medical terminology from rape kits and to conduct

7    hearings without victim shaming rape victims while properly evaluating all

8    available evidence.

9         227.   Penn State breached its duty when it hired or appointed a

10   hearing panel that did not know, inter alia, to not victim shame Ms.

11   Williams, and it also did not have the ability to understand the terminology

12   used in rape kits.

13        228.   It is reasonably foreseeable to Penn State that a hearing panel

14   which, inter alia, does not know to not victim shame rape victims, and did

15   not have the ability to understand the terminology used in rape kits, and

16   did not know how to properly evaluate all the evidence presented to it,

17        229.   As a direct and proximate result of this breach Penn State

18   ignored evidence that a rapist had sex with Ms. Williams when she was too

19   drunk to consent to sex, directly and proximately causing injury and damages

20   to Ms. Williams.

21                COUNT VI (in the alternative to Counts V and VIII)

22                      Negligent Training of Title IX Hearing Panel

23                                  Against Penn State

24        230.   All other paragraphs, exclusive of those contained in Count V

25   and VIII, are incorporated.

26        231.   Penn State has a duty for the benefit of its community members

27   including but not limited to its student Ms. Williams, to train those

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1    individuals with whom Penn State hires or otherwise appoints to sit on Title

2    IX rape hearing panels to evaluate evidence in the hearing.

3         232.   Penn State breached its duty by failing to train its entire

4    hearing panel pool to, inter alia, not victim shame rape victims, and to

5    understand the terminology used in rape kits or to properly evaluate all

6    available evidence.

7         233.   The inability of a hearing panel to understand or evaluate the

8    evidence presented in a rape case is a reasonably foreseeable consequence of

9    failing to train the panel members to perform those functions.

10        234.   This breach directly and proximately resulted in Penn State

11   ignoring evidence that a rapist had sex with Ms. Williams when she was too

12   drunk to consent to sex, directly and proximately causing injury and damages

13   to Ms. Williams.

14        235.   Penn State breached its duty to train when it failed to ensure

15   that its Title IX hearing panel was trained:

16           a. To know not to victim shame;

17           b. How to evaluate myriad evidence of the rapist’s likely knowledge

18               of Ms. Williams’ intoxication including but not limited to:

19                 i. statements that the rapist made, being evidence that he

20                      knew how drunk Ms. Williams was, including but not limited

21                      to that the rapist “had to pour Ms. Williams more alcohol

22                      because she was too drunk to do it herself”;

23                ii. The rapist’s refusal to answer any questions about that

24                      evening; and,

25               iii. Statements that Ms. Williams was drunk enough the next

26                      morning that she needed be taken to a hospital in an

27                      ambulance where she had a 0.192 Blood Alcohol Content.

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1         236.   As a direct and proximate result of Penn State’s breach of its

2    duty to train its hearing panel, Ms. Williams’ hearing panel ignored

3    evidence that, inter alia, a rapist had sex with Ms. Williams when she was

4    too drunk to consent to sex, directly and proximately causing injury and

5    damages to Ms. Williams.

6         237.   As a direct and proximate result of this breach, Ms. Williams

7    was deprived her right to a rape free educational environment when her

8    rapist was allowed to remain in school despite the mountain of evidence

9    against him that was not evaluated by the hearing panel, causing her injury

10   and damages including but not limited to emotional distress.

11                                    COUNT VII

12   Retaliation- First Amendment (via 42 U.S.C. § 1983), Title VI, and Title IX

13                       Against Penn State and Ms. Gaudelius

14        238.   All other paragraphs are incorporated.

15        239.   The First Amendment to the United States Constitution protects a

16   citizen’s right to free speech and expression.

17        240.   The First Amendment rights include not only the affirmative

18   right to speak, but also the right to be free from retaliation by a public

19   official for the exercise of that right.

20        241.   Title VI and Title IX forbids retaliation for Protected Activity

21   under those statutes.

22        242.   Ms. Williams engaged in Protected Activity under the First

23   Amendment, Title VI, and Title IX when, on February 19, 2020, she filed a

24   lawsuit against Penn State at 4:20-cv-298 in the United States District

25   Court for the Middle District of Pennsylvania accusing Penn State of Title

26   VI and Title IX violations.

27        243.   Upon information and belief, including but not limited to the

28   fact that this lawsuit garnered immediate media attention to include the



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1    Penn State student newspaper, as well as the fact that Penn State was served

2    with the lawsuit on February 20, 2020, Penn State was aware of Ms. Williams’

3    Protected Activity no later than February 20, 2020.

4         244.     On February 21, 2020 Penn State suspended Ms. Williams.

5         245.     Penn State suspended Ms. Williams in retaliation for engaging in

6    Protected Activity under the First Amendment, Title VI, and Title IX (i.e.,

7    by suing Penn State).

8         246.     Causation can be inferred on the non-exclusive basis of the

9    timing between Ms. Williams’ Protected Activity under the First Amendment,

10   Title VI, and Title IX of suing Penn State and Penn State’s action to deter

11   Ms. Williams and others from engaging in similar protected activity being

12   unduly suggestive of causation, wherein, the day after being served with Ms.

13   Williams’ lawsuit, Penn State held a sham hearing which did not include any

14   accusing witnesses or testimony, though said accusing witnesses were found

15   to be credible, Penn State, in an effort to communicate to Ms. Williams, as

16   well as its student body and the public at large that suing Penn State would

17   not be tolerated, suspended Ms. Williams.

18        247.     Ms. Williams engaged in further Protected Activity under the

19   First Amendment, Title VI, and Title IX when, on March 11, 2020, when she

20   filed an appeal of her suspension which accused Penn State of retaliation

21   for her lawsuit and for questioning their Title IX investigation.

22        248.     On March 18, 2020, Ms. Williams’ appeal was denied by Ms.

23   Gaudelius in retaliation for Ms. Williams’ protected activity discussed in

24   this Count.

25        249.     Causation can be inferred on the non-exclusive basis of the

26   temporal proximity between Ms. Williams’ Protected Activity on March 11,

27   2020 and the decision to uphold her suspension on March 18, 2020, as well as

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1    the decision upholding her suspension by, inter alia, blatantly ignoring the

2    two-day notice requirement of witness statements being used in a hearing.

3         250.   Ms. Williams was injured and suffered damages which were

4    directly and proximately caused by Penn State’s retaliatory actions as

5    described in this Count.

6                 COUNT VIII (In the alternative to Counts V and VI)

7          Retaliation- First Amendment (via 42 U.S.C. § 1983) and Title IX

8                                 Against Penn State

9         251.   All other paragraphs are incorporated except those in Counts V

10   and VI.

11        252.   Ms. Williams engaged in Protected Activity under the First

12   Amendment and Title IX on and around April 5, 2018 when she engaged in

13   public speech via Twitter, identifying Penn State, and criticizing their

14   handling of her rape case under Title IX.

15        253.   Upon information and belief, including but not limited to the

16   large number of public interactions with Ms. Williams’ Twitter post

17   regarding her Twitter comments regarding Penn State and criticizing their

18   handling of her rape case under Title IX, including faculty members of Penn

19   State, Penn State was aware of Ms. Williams’ speech identifying Penn State,

20   and criticizing their handling of her rape case under Title IX.

21        254.   Upon information and belief, including but not limited to that

22   the Title IX panel ignored numerous pieces of evidence, including but not

23   limited to confessions, medical evidence, text messages, and one rapist’s

24   refusal to answer questions beyond “no comment”, Penn State, in an effort to

25   communicate to Ms. Williams, as well as its student body and the public at

26   large that criticism of Penn State and its Title IX investigations would not

27   be tolerated, found against Ms. Williams and for her rapist.

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1         255.   Ms. Williams appealed the Title IX decision in favor of her

2    rapist, and such appeal was denied by Penn State because Ms. Williams

3    engaged in said protected activity on Twitter.

4         256.   Causation can be inferred on the non-exclusive basis of the

5    timing between Ms. Williams’ Protected Activity under the First Amendment to

6    publicly speak on Twitter and Penn State’s action to deter Ms. Williams and

7    others from speaking negatively about Penn State’s handling of Title IX

8    cases being unduly suggestive of causation, wherein, after approximately

9    seven months without investigatory activity but approximately one month

10   after Ms. Williams’ Protected Activity, Penn State held a sham Title IX

11   hearing, wherein it victim blamed Ms. Williams, ignored crucial evidence of

12   Ms. Williams’ rapist’s guilt, and found the rapist to be not responsible for

13   his actions, and then, denied Ms. Williams’ appeal and requests for

14   information about the case in order to uphold the result of said sham

15   hearing.

16        WHEREFORE, Plaintiff Kayla Williams respectfully requests Judgment in

17   her favor and against the Defendants, and for damages to be assessed against

18   the Defendants to the fullest extent allowed by law, to include but not be

19   limited to, compensatory damages (both economic and non-economic), punitive

20   damages as permitted by law, attorney fees, costs of suit, and applicable

21   interest payments on the Judgment, along with any and all other relief

22   permitted by applicable law. Plaintiff also requests equitable and

23   injunctive relief to direct Penn State to remove the “F” grade from her

24   transcripts as well as any reference to her being suspended for the Spring

25   and Summer 2020 semesters.

26   Respectfully submitted on April 27, 2020 by:

27                                            THE TRIAL LAW FIRM, LLC

28                                            /s/Mart Harris
                                              Mart Harris, Esquire


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1                                             Pa. Id. No. 319504

2                                             /s/Nelson Berardinelli
                                              Nelson Berardinelli, Esquire
3                                             Pa. Id. No. 310581

4                                             Trial Lawyers for Kayla Williams

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1                        IN THE UNITED STATES DISTRICT COURT

2                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

3                                   WILLIAMSPORT DIVISION

4    KAYLA WILLIAMS,                           Case No. 4:20-cv-00298-MWB

5               Plaintiff,

6                             vs.              CERTIFICATE OF COMPLIANCE FOR
                                               AMENDED COMPLAINT IN CIVIL ACTION
7    PENNSYLVANIA STATE UNIVERSITY, and
     BRENDAN PRAWDZIK in his individual        JURY TRIAL DEMANDED
8    capacity, and MICHELLE YARWOOD in
     her individual capacity
9
                Defendants.
10

11                                      CERTIFICATE

12        The undersigned hereby certifies that the within complies with the

13   Public Access Policy of the Unified Judicial System of Pennsylvania: Case

14   Records of the Appellate and Trial Courts regarding confidential information

15   and documents.

16   Respectfully submitted on April 27, 2020 by:

17                                               THE TRIAL LAW FIRM, LLC

18                                                /s/Mart Harris
                                                  Mart Harris, Esquire
19                                                Pa. Id. No. 319504

20                                                /s/Nelson Berardinelli
                                                  Nelson Berardinelli, Esquire
21                                                Pa. Id. No. 310581

22                                                Trial Lawyers for Kayla Williams

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